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                       UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION

UNITED STATES OF AMERICA                :
                                        : NO. 1:06-CR-00076
                                        :
                                        :
   v.                                   : OPINION AND ORDER
                                        :
                                        :
STEPHANIE CORSMEIER                     :
STACEY LESTER                           :
                                        :
                                        :


             This matter is before the Court on the following filings:

the government’s Motion to Take Judicial Notice of Adjudicative

Facts (doc. 40), and Defendant Stephanie Corsmeier’s Response in

Opposition     and    Request     to   Exclude   Evidence   (doc.    42);    the

government’s Pretrial Memorandum (doc. 41), and Defendant Stephanie

Corsmeier’s Response in Opposition (doc. 43); the government’s

Notice of 404(b) Evidence (docs. 45, 46), and Defendant Stephanie

Corsmeier’s Memorandum in Opposition (doc. 48).

             Also    filed   is   Defendant   Stacey   Lester’s     Motion   for

Joinder in Defendant Stephanie Corsmeier’s filings in opposition

(doc. 44).      The Court GRANTS Defendant’s Lester’s motion for

joinder (doc. 44) and will address each of the remaining issue in

turn.

I. Analysis

             A. Foreclosure Evidence

             The government moves the Court, pursuant to Federal Rule

of Evidence (“FRE”) 201, to take judicial notice of the fact that
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twenty-eight mortgage loans related to this case are currently in

foreclosure       or   have   already    been      foreclosed        upon    (doc.    40).

Judicial   notice       is    proper    where      a    fact   is    “not    subject    to

reasonable dispute in that it is either (1) generally known within

the territorial jurisdiction of the trial court or (2) capable of

accurate   and     ready      determination        by    resort     to     sources   whose

accuraty cannot reasonably be questioned.” Fed. R. Evid. 201 (a)

and (b). The documents in question are the official public records

of foreclosure filed with the Hamilton County Recorder’s office

(doc. 40).

             In    response,     Defendants        object      to    the    government’s

motion, arguing that the documents are not the proper subject of

judicial notice and that the information regarding foreclosures is

inadmissable under FRE 401 and 402, and 403 (doc. 42).

             Having     reviewed       the     record,     the      Court    GRANTS    the

government’s motion, and, pursuant to FRE 201, takes judicial

notice of the foreclosure documents filed by the government in

Attachment A to their motion (doc. 40).                   However, the Court tends

to find merit in Defendants’ argument that this evidence is

irrelevant under FRE 401 and 402, and unduly prejudicial under FRE

403.   Thus, while the Court will make a ruling at the time this

evidence is presented at trial, the                    Court instructs the parties

not to address the issue of the foreclosed properties in their

opening statements.



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            B. Prior Dealings

            The government next instructs the Court that it expects

one of its witnesses, Clarence Harris, to testify that he began

engaging    in   fraudulent      mortgage       transactions    with    Defendant

Corsmeier, acts for which she is not indicted, when she was an

employee of Southeast Title Company, before she founded American

Security Title Company, (doc. 41).                 While Defendant Corsmeier

objects to this testimony as inadmissable under FRE 404(b) (doc.

43), the government contends that the testimony is proper as

“background” evidence to the crime charged, or in the alternative,

proper under FRE 404(b) (doc 41).

            Having   reviewed     this        matter,   the   Court    finds   that

evidence of Clarence Harris’s business relationship with Defendant

Corsmeier prior to her founding of American Title Security Company

is admissible as “background” evidence to the crime charged. See

United States v. Barnes, 49 F.3d 1144, 1149 (6th Cir. 1995); United

States v. Hardy, 228 F.3d 745, 750.             The Court finds that evidence

of prior dealings between Mr. Harris and Defendant Corsmeier are

necessary for the jury to understand the setting of the case.                   Id.

Because    the   Court   finds   this    evidence       constitutes    background

evidence, it need not be analyzed under the 404(b) framework.

United States v. McNeal, 40 Fed. Appx 164, at *3 (6th Cir. 2002).

            C. 404(b) Evidence

            Finally, the government filed a notice that it intended

to present 404(b) evidence at trial related to alleged cocaine use

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by Defendant Corsmeier (docs. 45, 46).            The government expects its

witness,   Clarence    Harris,    to   testify     that   during   the   period

outlined in the Indictment, he provided Defendant Corsmeier with

cocaine on several occasions in an attempt to enhance their

business relationship (doc. 45).             Defendant Corsmeier argues that

this evidence is inappropriate under FRE 404(b).             On May 15, 2007,

the Court heard oral arguments on the matter, as well as the

testimony of Clarence Harris, the witness expected to testify to

this evidence at trial.

           Federal Rule of Evidence 404(b) prohibits the admission

of “other crimes, wrongs, or acts ... to prove the character of a

person in order to show that he acted in conformity therewith.”

Fed.R.Evid. 404(b).      However, this evidence may be admitted if the

party cites a specific proper purpose for which the evidence is

being offered, such as to show motive or intent. Id. In addressing

a FRE 404(b) issue, a district court must conduct a three step

inquiry.   First, the court considers whether there is sufficient

evidence to find that the bad act occurred. Second, the court must

consider whether the evidence is being offered for a proper

purpose. Third, the court must consider whether the probative value

of the evidence is substantially outweighed by its prejudicial

effect, pursuant to FRE 403. United States v. Mack, 258 F.3d 548,

553 (6th Cir. 2001).

           Analyzing the evidence offered by the government under

this framework, the Court finds Clarence Harris’s testimony about

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cocaine he allegedly supplied to Stephanie Corsmeier is admissible

under 404(b).    First, the Court is satisfied, both by Mr. Harris’s

testimony at the hearing on May 15, 2007, and by the government’s

representation they have additional testimonial support, that there

is sufficient evidence that these acts occurred.                  Second, the

government argues that it offers this evidence as proof of motive

for Defendant Corsmeier to engage in the indicted acts, which the

Court   finds   is   a   proper   purpose.      Finally,    while   the   Court

acknowledges the prejudicial effect that this evidence may have, it

does not substantially outweigh the probative value of what the

government argues is crucial evidence of Defendant Corsmeier’s

motivation. At the time any such evidence is introduced, the Court

will give the jury the required limiting instruction.

II. Conclusion

           The Court advises the parties that while these are the

initial rulings of the Court, as facts develop at trial, these

issues may be reconsidered.



           SO ORDERED.



Dated: May 16, 2007                s/S. Arthur Spiegel
                                   S. Arthur Spiegel
                                   United States Senior District Judge




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